               X            Case 1:16-cr-00229-BAH            Document 196-1    Filed 09/19/24   Page 1 of 39
Government
Plaintiff                                       UNITED STATES OF AMERICA
                                                          VS.                                       Civil/Criminal No. 16-CR-229 (BAH)
Defendant
Joint                                           RUBEN OSEGUERA GONZALEZ
Court


 EXHIBIT             DESCRIPTION OF EXHIBITS                    MARKED         RECEIVED              WITNESS            EXHIBITS
 NUMBER                                                         FOR I.D.           IN                                   SENT INTO
                                                                               EVIDENCE                                 JURY
                                                                                                                        (date & time)
1            Photogragh of Nemesio Oseguera Cervantes                      9/9/2024       Oscar Nava Valencia
             and the Defendant

2            Photograph of Nemesio Oseguera Cervates


3            Photograph of Julio Alberto Castillo Rodriguez


4            Photograph of Abigael Gonzalez Valencia and
             others

5            Photograph of Abigael Gonzalez Valencia                       9/9/2024       Oscar Nava Valencia


6            Photograph of Abigael Gonzalez Valencia and                   9/9/2024       Oscar Nava Valencia
             woman

7            Photograph of Abigael Gonzalez Valencia and                   9/9/2024       Oscar Nava Valencia
             woman 2

8            Photograph of Abigael Gonzalez Valencia                       9/9/2024       Oscar Nava Valencia


9            Photograph of Abigael Gonzalez Valencia in                    9/9/2024       Oscar Nava Valencia
             Spain

10           Photograph of Abigael Gonzalez Valencia with                  9/9/2024       Oscar Nava Valencia
             woman 3
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EXHIBIT            DESCRIPTION OF EXHIBITS                 MARKED      RECEIVED               WITNESS         EXHIBITS
NUMBER                                                      FOR I.D.       IN                                 SENT INTO
                                                                       EVIDENCE                               JURY
                                                                                                              (date & time)
11        Photograph of Abigael Gonzalez Valencia with                9/9/2024      Oscar Nava Valencia
          woman 4

12        Photograph of Abigael Gonzalez Valencia with                9/9/2024      Oscar Nava Valencia
          woman 5

13        Photograph of Abigael Gonzalez Valencia with                9/9/2024      Oscar Nava Valencia
          woman 6

14        Photograph of Abigael Gonzalez Valencia with                9/9/2024      Oscar Nava Valencia
          woman 7

15        Ledger: Libro 14                                            9/10/2024     Elpidio Mojarro Ramirez


15A       Ledger: Libro 14 Translation                                9/10/2024     Elpidio Mojarro Ramirez


16        Ledger: Libro 16                                            9/10/2024     Elpidio Mojarro Ramirez


16A       Ledger: Libro 16 Translation                                9/10/2024     Elpidio Mojarro Ramirez


17        BBM Original Discs (For ID only)


18        Disc with 115 BBM Intercepts                                9/16/2024     Kevin Novick


18A       Disc with 104 BBM Translated Intercepts                     9/16/2024     Kevin Novick


19        Demonstrative Chart of BBM PINs                             (9/16/2024    Kevin Novick
                                                                      not admitted
                                                                      Demonstrative
                                                                      only)
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
19A       Demonstrative Chart of BBM PINs, page 6                     9/16/2024   Kevin Novick


20        BBM Wiretap Intercept Product ID 2931497                    9/16/2024   Kevin Novick


20A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2931497

21        BBM Wiretap Intercept Product ID 2931925                    9/16/2024   Kevin Novick


21A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2931925

22        BBM Wiretap Intercept Product ID 2931927                    9/16/2024   Kevin Novick


22A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2931927

23        BBM Wiretap Intercept Product ID 3603486                    9/16/2024   Kevin Novick


23A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3603486

24        BBM Wiretap Intercept Product ID 3049603                    9/16/2024   Kevin Novick


24A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3049603

25        BBM Wiretap Intercept Product ID 3851466                    9/16/2024   Kevin Novick


25A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3851466
                       Case 1:16-cr-00229-BAH            Document 196-1 Filed 09/19/24   Page 4 of 39
EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
26        BBM Wiretap Intercept Product ID 2407840,                   9/16/2024   Kevin Novick
          2407843, 2407845 and 2407880

26A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2407840, 2407843, 2407845 and 2407880

27        BBM Wiretap Intercept Product ID 2409459 and                9/16/2024   Kevin Novick
          2409460

27A       Translation BBM Wiretap Intercept Product ID                9/16/2024   Kevin Novick
          2409459 and 2409460

28        BBM Wiretap Intercept Product ID 2409463 and                9/16/2024   Kevin Novick
          2409542

28A       Translation BBM Wiretap Intercept Product ID                9/16/2024   Kevin Novick
          2409463 and 2409542

29        BBM Wiretap Intercept Product ID 4392150                    9/16/2024   Kevin Novick


29A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4392150

30        BBM Wiretap Intercept Product ID 4392151                    9/16/2024   Kevin Novick


30A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4392151

31        BBM Wiretap Intercept Product ID 4389600                    9/16/2024   Kevin Novick


31A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4389600

32        BBM Wiretap Intercept Product ID 4392003                    9/16/2024   Kevin Novick
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
32A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4392003

33        BBM Wiretap Intercept Product ID 4399395 and                9/16/2024   Kevin Novick
          4400552

33A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4399395 and 4400552

34        BBM Wiretap Intercept Product ID 4544424                    9/16/2024   Kevin Novick


34A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4544424

35        BBM Wiretap Intercept Product ID 4544430 and                9/16/2024   Kevin Novick
          4544434

35A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4544430 and 4544434

36        BBM Wiretap Intercept Product ID 2872026,                   9/16/2024   Kevin Novick
          2872027, and 2872031

36A       Translation BBM Wiretap Intercept Product ID                9/16/2024   Kevin Novick
          2872026, 2872027, and 2872031

37        BBM Wiretap Intercept Product ID 2907154                    9/16/2024   Kevin Novick


37A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907154

38        BBM Wiretap Intercept Product ID 2907305                    9/16/2024   Kevin Novick


38A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907305
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
39        BBM Wiretap Intercept Product ID 2907310                    9/16/2024   Kevin Novick


39A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907310

40        BBM Wiretap Intercept Product ID 2907528 and                9/16/2024   Kevin Novick
          2908041

40A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907528 and 2908041

41        BBM Wiretap Intercept Product ID 2908042                    9/16/2024   Kevin Novick


41A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2908042

42        BBM Wiretap Intercept Product ID 2908044                    9/16/2024   Kevin Novick


42A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2908044

43        BBM Wiretap Intercept Product ID 2908242                    9/16/2024   Kevin Novick


43A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2908242

44        BBM Wiretap Intercept Product ID 2910500                    9/16/2024   Kevin Novick


44A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2910500

45        BBM Wiretap Intercept Product ID 2910504 and                9/16/2024   Kevin Novick
          2910508
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
45A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2910504 and 2910508

46        BBM Wiretap Intercept Product ID 2916325 and                9/16/2024   Kevin Novick
          2916329

46A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2916325 and 2916329

47        BBM Wiretap Intercept Product ID 2969200 and                9/16/2024   Kevin Novick
          2969339

47A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2969200 and 2969339

48        BBM Wiretap Intercept Product ID 2907156                    9/16/2024   Kevin Novick


48A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907156

49        BBM Wiretap Intercept Product ID 2907304                    9/16/2024   Kevin Novick


49A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907304

50        BBM Wiretap Intercept Product ID 2907311 and                9/16/2024   Kevin Novick
          2907526

50A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2907311 and 2907526

51        BBM Wiretap Intercept Product ID 2908043                    9/16/2024   Kevin Novick


51A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2908043
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
52        BBM Wiretap Intercept Product ID 2928728                    9/16/2024   Kevin Novick


52A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2928728

53        BBM Wiretap Intercept Product ID 2936690 and                9/16/2024   Kevin Novick
          2936692

53A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2936690 and 2936692

54        BBM Wiretap Intercept Product ID 2937151                    9/16/2024   Kevin Novick


54A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2937151

55        BBM Wiretap Intercept Product ID 2938862 and                9/16/2024   Kevin Novick
          2938865

55A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2938862 and 2938865

56        BBM Wiretap Intercept Product ID 2918655                    9/16/2024   Kevin Novick


56A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2918655

57        BBM Wiretap Intercept Product ID 2919290                    9/16/2024   Kevin Novick


57A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2919290

58        BBM Wiretap Intercept Product ID 3698814                    9/16/2024   Kevin Novick
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED      RECEIVED             WITNESS     EXHIBITS
NUMBER                                                      FOR I.D.       IN                           SENT INTO
                                                                       EVIDENCE                         JURY
                                                                                                        (date & time)
58A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3698814

59        Intentionally Left Blank


60        BBM Wiretap Intercept Product ID 2409543                    9/16/2024   Kevin Novick


60A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2409543

61        BBM Wiretap Intercept Product ID 2409544                    9/16/2024   Kevin Novick


61A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2409544

62        BBM Wiretap Intercept Product ID 2409545                    9/16/2024   Kevin Novick


62A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2409545

63        BBM Wiretap Intercept Product ID 2410345                    9/16/2024   Kevin Novick


63A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2410345

64        BBM Wiretap Intercept Product ID 2893029                    9/16/2024   Kevin Novick


64A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2893029

65        BBM Wiretap Intercept Product ID 2898421                    9/16/2024   Kevin Novick
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EXHIBIT           DESCRIPTION OF EXHIBITS                   MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                      FOR I.D.       IN                            SENT INTO
                                                                       EVIDENCE                          JURY
                                                                                                         (date & time)
65A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2898421

66        BBM Wiretap Intercept Product ID 2931928                    9/16/2024   Kevin Novick


66A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2931928

67        BBM Wiretap Intercept Product ID 2933253                    9/16/2024   Kevin Novick


67A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2933253

68        BBM Wiretap Intercept Product ID 2933256                    9/16/2024   Kevin Novick


68A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2933256

69        BBM Wiretap Intercept Product ID 2980072,                   9/16/2024   Kevin Novick
          2980254, 2980265, and 2980268

69A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2980072, 2980254, 2980265, and 2980268

70        BBM Wiretap Intercept Product ID 2982540                    9/16/2024   Kevin Novick


70A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2982540

71        BBM Wiretap Intercept Product ID 3003625 and                9/16/2024   Kevin Novick
          3003627

71A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3003625 and 3003627
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EXHIBIT           DESCRIPTION OF EXHIBITS                   MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                      FOR I.D.       IN                            SENT INTO
                                                                       EVIDENCE                          JURY
                                                                                                         (date & time)
72        BBM Wiretap Intercept Product ID 3778675                    9/16/2024   Kevin Novick


72A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3778675

73        BBM Wiretap Intercept Product ID 3798767                    9/16/2024   Kevin Novick


73A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3798767

74        BBM Wiretap Intercept Product ID 3007753                    9/16/2024   Kevin Novick


74A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3007753

75        BBM Wiretap Intercept Product ID 4544435                    9/16/2024   Kevin Novick


75A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4544435

76        BBM Wiretap Intercept Product ID 4807727 and                9/16/2024   Kevin Novick
          4807728

76A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4807727 and 4807728

77        BBM Wiretap Intercept Product ID 4819889,                   9/16/2024   Kevin Novick
          4820189, 4820190, 4820191, 4820649, and
          4820650
77A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4819889, 4820189, 4820190, 4820191,
          4820649, and 4820650
78        BBM Wiretap Intercept Product ID 4832118                    9/16/2024   Kevin Novick
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EXHIBIT           DESCRIPTION OF EXHIBITS                   MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                      FOR I.D.       IN                            SENT INTO
                                                                       EVIDENCE                          JURY
                                                                                                         (date & time)
78A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 4832118

79        BBM Wiretap Intercept Product ID 2913747                    9/16/2024   Kevin Novick


79A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2913747

80        BBM Wiretap Intercept Product ID 2855016                    9/16/2024   Kevin Novick


80A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2855016

81        BBM Wiretap Intercept Product ID 3603719                    9/16/2024   Kevin Novick


81A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3603719

82        BBM Wiretap Intercept Product ID 3056011 and                9/16/2024   Kevin Novick
          3056164

82A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3056011 and 3056164

83        BBM Wiretap Intercept Product ID 3071315                    9/16/2024   Kevin Novick


83A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3071315

84        BBM Wiretap Intercept Product ID 3071386                    9/16/2024   Kevin Novick


84A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3071386
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EXHIBIT           DESCRIPTION OF EXHIBITS                   MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                      FOR I.D.       IN                            SENT INTO
                                                                       EVIDENCE                          JURY
                                                                                                         (date & time)
85        BBM Wiretap Intercept Product ID 3071388                    9/16/2024   Kevin Novick


85A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3071388

86        BBM Wiretap Intercept Product ID 3686682                    9/16/2024   Kevin Novick


86        Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3686682

87        BBM Wiretap Intercept Product ID 3024583                    9/16/2024   Kevin Novick


87A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3024583

88        BBM Wiretap Intercept Product ID 3024797                    9/16/2024   Kevin Novick


88A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3024797

89        BBM Wiretap Intercept Product ID 3024988                    9/16/2024   Kevin Novick


89A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3024988

90        BBM Wiretap Intercept Product ID 3024584                    9/16/2024   Kevin Novick


90A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3024584

91        BBM Wiretap Intercept Product ID 2710221                    9/16/2024   Kevin Novick
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EXHIBIT           DESCRIPTION OF EXHIBITS                   MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                      FOR I.D.       IN                            SENT INTO
                                                                       EVIDENCE                          JURY
                                                                                                         (date & time)
91A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2710221

92        Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2889766

92A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2889766

93        BBM Wiretap Intercept Product ID 3706551                    9/16/2024   Kevin Novick


93A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 3706551

94        BBM Wiretap Intercept Product ID 2918656                    9/16/2024   Kevin Novick


94A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2918656

95        BBM Wiretap Intercept Product ID 2918667                    9/16/2024   Kevin Novick


95A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2918667

96        BBM Wiretap Intercept Product ID 5647560                    9/16/2024   Kevin Novick


96A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 5647560

97        BBM Wiretap Intercept Product ID 2931812                    9/16/2024   Kevin Novick


97A       Translation of BBM Wiretap Intercept Product                9/16/2024   Kevin Novick
          ID 2931812
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EXHIBIT           DESCRIPTION OF EXHIBITS                 MARKED     RECEIVED              WITNESS        EXHIBITS
NUMBER                                                    FOR I.D.       IN                               SENT INTO
                                                                     EVIDENCE                             JURY
                                                                                                          (date & time)
98        Intentionally Left Blank


99        Map of Mexico and surrounding area                        9/17/2024    Steven Paris


100       Photograph of Helicopter Crash site                       9/11/2024    Herminio Gomez Ancira


101       Photograph of Helicopter Crash site                       9/13/2024    Maria Hernandez


102       Photograph of Helicopter Crash site                       9/11/2024    Herminio Gomez Ancira


103       Photograph of Helicopter Crash site                       9/11/2024    Herminio Gomez Ancira


104       Photograph of Helicopter Crash site                       9/13/2024    Maria Hernandez


105       Demonstrative Map of Helicopter Crash Area                (9/13/2024    Maria Hernandez
                                                                    Not admitted
                                                                    Demonstrative
                                                                    only)
105A      Map of Helicopter Crash with Markings                     9/11/2024     Herminio Gomez Ancira


106       Photograph of Truck with Mount                            9/11/2024    Herminio Gomez Ancira


107       Photograph of Truck with Mount                            9/13/2024    Maria Hernandez


108       Photograph of Truck with Mount                            9/11/2024    Herminio Gomez Ancira
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                            FOR I.D.       IN                             SENT INTO
                                                             EVIDENCE                           JURY
                                                                                                (date & time)
109       Photograph of Truck with Mount                    9/13/2024   Maria Hernandez


110       Photograph of Truck with Mount                    9/13/2024   Maria Hernandez


111       Photograph of Browning                            9/13/2024   Maria Hernandez


112       Photograph of Browning                            9/13/2024   Maria Hernandez


113       Photograph of Browning                            9/13/2024   Maria Hernandez


114       Photograph of Browning                            9/13/2024   Maria Hernandez


115       Photograph of Browning                            9/13/2024   Maria Hernandez


116       Photograph of Browning                            9/13/2024   Maria Hernandez


117       Photograph of Browning                            9/11/2024   Herminio Gomez Ancira


118       Photograph of Browning                            9/11/2024   Herminio Gomez Ancira


119       Photograph of Browning                            9/13/2024   Maria Hernandez


120       Photograph of Browning                            9/13/2024   Maria Hernandez


121       Photograph of Browning                            9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                            FOR I.D.       IN                             SENT INTO
                                                             EVIDENCE                           JURY
                                                                                                (date & time)
122       Photograph of Browning                            9/13/2024   Maria Hernandez


123       Photograph of Browning                            9/13/2024   Maria Hernandez


124       Photograph of Browning                            9/13/2024   Maria Hernandez


125       Photograph of Browning                            9/13/2024   Maria Hernandez


126       Photograph of Browning                            9/13/2024   Maria Hernandez


127       Photograph of Browning                            9/13/2024   Maria Hernandez


128       Photograph of CJNG 79 Weapon                      9/13/2024   Maria Hernandez


129       Photograph of CJNG 79 Weapon                      9/13/2024   Maria Hernandez


130       Photograph of CJNG 79 Weapon                      9/13/2024   Maria Hernandez


131       Photograph of CJNG 79 Weapon                      9/13/2024   Maria Hernandez


132       Photograph of CJNG 79 Weapon                      9/11/2024   Herminio Gomez Ancira


133       Photograph of CJNG 79 Weapon                      9/13/2024   Maria Hernanez


134       Photograph of Truck with Mount                    9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS              MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                                 FOR I.D.       IN                             SENT INTO
                                                                  EVIDENCE                           JURY
                                                                                                     (date & time)
135       Photograph of RPG with Persians Letters                9/13/2024   Maria Hernandez


136       Photograph of RPG with Persians Letters                9/13/2024   Maria Hernandez


137       Photograph of RPG with Persians Letters                9/13/2024   Maria Hernandez


138       Photograph of RPG with Persians Letters                9/11/2024   Herminio Gomez Ancira


139       Photograph of RPG with Persians Letters                9/13/2024   Maria Hernandez


140       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


141       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


142       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


143       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


144       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


145       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


146       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez


147       Photograph of Pistol & Bullets                         9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                            FOR I.D.       IN                             SENT INTO
                                                             EVIDENCE                           JURY
                                                                                                (date & time)
148       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


149       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


150       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


151       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


152       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


153       Photograph of Pistol & Bullets                    9/13/2024   Maria Hernandez


154       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


155       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


156       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


157       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


158       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


159       Photograph of Bullets & Rockets                   9/11/2024   Herminio Gomez Ancira


160       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez
                      Case 1:16-cr-00229-BAH   Document 196-1 Filed 09/19/24   Page 20 of 39
EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                            FOR I.D.       IN                            SENT INTO
                                                             EVIDENCE                          JURY
                                                                                               (date & time)
161       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


162       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


163       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


164       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


165       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


166       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


167       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


168       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


169       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


170       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


171       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


172       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez


173       Photograph of Bullets & Rockets                   9/13/2024   Maria Hernandez
                      Case 1:16-cr-00229-BAH      Document 196-1 Filed 09/19/24   Page 21 of 39
EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
174       Photograph of Bagging Bullet                         9/13/2024   Maria Hernandez


175       Redacted Photograph of Deceased Gunman #1            9/13/2024   Maria Hernandez


176       Photograph of Belt Buckle                            9/13/2024   Maria Hernandez


177       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


178       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


179       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


180       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


181       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


182       Photograph of Automatic Rifle                        9/13/2024   Maria Hernandez


183       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


184       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


185       Redacted Photograph of Deceased Gunman #2            9/13/2024   Maria Hernandez


186       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez
                      Case 1:16-cr-00229-BAH      Document 196-1 Filed 09/19/24   Page 22 of 39
EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
187       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


188       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


189       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


190       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


191       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


192       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


193       Redacted Photograph of Deceased Gunman #3            9/13/2024   Maria Hernandez


194       Photograph of Handgun                                9/13/2024   Maria Hernandez


195       Redacted Photograph of Deceased Gunman #3            9/13/2024   Maria Hernandez


196       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


197       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


198       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


199       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez
                      Case 1:16-cr-00229-BAH      Document 196-1 Filed 09/19/24   Page 23 of 39
EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
200       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


201       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


202       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


203       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


204       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


205       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


206       Photograph of Handgun                                9/13/2024   Maria Hernandez


207       Photograph of Handgun                                9/13/2024   Maria Hernandez


208       Photograph of Handgun                                9/13/2024   Maria Hernandez


209       Photograph of Handgun                                9/13/2024   Maria Hernandez


210       Photograph of Handgun                                9/13/2024   Maria Hernandez


211       Photograph of Handgun                                9/13/2024   Maria Hernandez


212       Photograph of Tactical Vest                          9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                               FOR I.D.       IN                             SENT INTO
                                                                EVIDENCE                           JURY
                                                                                                   (date & time)
213       Redacted Photograph of Deceased Gunman #3            9/13/2024   Maria Hernandez


214       Photograph of CJNG Belt Buckle                       9/13/2024   Maria Hernandez


215       Redacted Photograph of Deceased Gunman #4            9/13/2024   Maria Hernandez


216       Photograph of CJNG Rifle                             9/11/2024   Herminio Gomez Ancira


217       Photograph of CJNG Rifle                             9/13/2024   Maria Hernandez


218       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


219       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


220       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


221       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


222       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


223       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


224       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


225       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
226       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


227       Photograph of Assault Rifle                          9/13/2024   Maria Hernandez


228       Photograph of Ammunition and Magazine                9/13/2024   Maria Hernandez


229       Photograph of Handgun                                9/13/2024   Maria Hernandez


230       Photograph of Handgun                                9/13/2024   Maria Hernandez


231       Photograph of Handgun                                9/13/2024   Maria Hernandez


232       Photograph of Handgun                                9/13/2024   Maria Hernandez


233       Photograph of Handgun                                9/13/2024   Maria Hernandez


234       Photograph of Handgun                                9/13/2024   Maria Hernandez


235       Redacted Photograph of Deceased Gunman #6            9/13/2024   Maria Hernandez


236       Redacted Photograph of Deceased Gunman #6            9/13/2024   Maria Hernandez


237       Photograph of Rifle                                  9/13/2024   Maria Hernandez


238       Photograph of Rifle                                  9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
239       Photograph of Rifle                                  9/13/2024   Maria Hernandez


240       Photograph of Rifle                                  9/13/2024   Maria Hernandez


241       Photograph of Ammunition                             9/13/2024   Maria Hernandez


242       Redacted Photograph of Deceased Gunman #7            9/13/2024   Maria Hernandez


243       Photograph of CJNG Hat                               9/13/2024   Maria Hernandez


244       Photograph of CJNG Hat                               9/13/2024   Maria Hernandez


245       Photograph of Rifle                                  9/13/2024   Maria Hernandez


246       Photograph of Rifle                                  9/13/2024   Maria Hernandez


247       Photograph of Rifle                                  9/13/2024   Maria Hernandez


248       Photograph of Rifle                                  9/13/2024   Maria Hernandez


249       Photograph of Rifle                                  9/13/2024   Maria Hernandez


250       Photograph of Rifle                                  9/13/2024   Maria Hernandez


251       Photograph of Bagged Ammunition                      9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                            FOR I.D.       IN                            SENT INTO
                                                             EVIDENCE                          JURY
                                                                                               (date & time)
252       Photograph of Bagged Ammunition                   9/13/2024   Maria Hernandez


253       Photograph of Tactical Vest                       9/13/2024   Maria Hernandez


254       Photograph of Deceased Gunman #8                  9/13/2024   Maria Hernandez


255       Photograph of Deceased Gunman #8                  9/13/2024   Maria Hernandez


256       Photograph of Rifle                               9/13/2024   Maria Hernandez


257       Photograph of Handgun and Holster                 9/13/2024   Maria Hernandez


258       Photograph of Rifle                               9/13/2024   Maria Hernandez


259       Photograph of Rifle                               9/13/2024   Maria Hernandez


260       Photograph of Rifle                               9/13/2024   Maria Hernandez


261       Photograph of CJNG Logo Rifle                     9/13/2024   Maria Hernandez


262       Photograph of CJNG Logo Rifle                     9/13/2024   Maria Hernandez


263       Photograph of Ammunition                          9/13/2024   Maria Hernandez


264       Photograph of Handgun                             9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS                 MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                    FOR I.D.       IN                            SENT INTO
                                                                     EVIDENCE                          JURY
                                                                                                       (date & time)
265       Photograph of Handgun                                     9/13/2024   Maria Hernandez


266       Photograph of Handgun                                     9/13/2024   Maria Hernandez


267       Photograph of Handgun                                     9/13/2024   Maria Hernandez


268       Photograph of Handgun                                     9/13/2024   Maria Hernandez


269       Photograph of Deceased Gunman #9 and Rifle                9/13/2024   Maria Hernandez


270       Photograph of Rifle                                       9/13/2024   Maria Hernandez


271       Photograph of Deceased Gunman #9 and Rifle                9/13/2024   Maria Hernandez


272       Photograph of Tactical Vest                               9/13/2024   Maria Hernandez


273       Photograph of Tactical Vest                               9/13/2024   Maria Hernandez


274       Photograph of Tactical Vest                               9/13/2024   Maria Hernandez


275       Photograph of Magazines                                   9/13/2024   Maria Hernandez


276       Photograph of Deceased Gunman #9 and Rifle                9/13/2024   Maria Hernandez


277       Photograph of Deceased Gunman #9 and                      9/13/2024   Maria Hernandez
          Tactical Vest
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EXHIBIT           DESCRIPTION OF EXHIBITS           MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                              FOR I.D.       IN                            SENT INTO
                                                               EVIDENCE                          JURY
                                                                                                 (date & time)
278       Photograph of Tactical Vest                         9/13/2024   Maria Hernandez


279       Photograph of Tactical Vest                         9/13/2024   Maria Hernandez


280       Photograph of Magazines                             9/13/2024   Maria Hernandez


281       Photograph of Deceased Gunman #9                    9/13/2024   Maria Hernandez


282       Photograph of Ammunition Cartridge                  9/13/2024   Maria Hernandez


283       Photograph of Ammunition Cartridge                  9/13/2024   Maria Hernandez


284       Photograph of Deceased Gunman #9                    9/13/2024   Maria Hernandez


285       Photograph of Deceased Gunman #9 and                9/13/2024   Maria Hernandez
          Weapon

286       Photograph of Deceased Gunman #9                    9/13/2024   Maria Hernandez


287       Photograph of Ammunition                            9/13/2024   Maria Hernandez


288       Photograph of Ammunition Cartridge                  9/13/2024   Maria Hernandez


289       Photograph of Convoy Vehicles                       9/13/2024   Maria Hernandez


290       Photograph of Convoy Vehicles                       9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS             MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                                FOR I.D.       IN                            SENT INTO
                                                                 EVIDENCE                          JURY
                                                                                                   (date & time)
291       Photograph of Convoy Vehicles                         9/13/2024   Maria Hernandez


292       Photograph of Convoy Vehicles                         9/13/2024   Maria Hernandez


293       Photograph of Convoy Vehicles                         9/13/2024   Maria Hernandez


294       Photograph of Convoy Vehicles                         9/13/2024   Maria Hernandez


295       Photograph of Truck with Mount                        9/13/2024   Maria Hernandez


296       Photograph of Truck with Mount                        9/13/2024   Maria Hernandez


297       Photograph of Truck with Mount                        9/13/2024   Maria Hernandez


298       Photograph of Truck with Mount                        9/13/2024   Maria Hernandez


299       Photograph Damaged Vehicle from Convoy                9/13/2024   Maria Hernandez


300       Photograph Damaged Vehicle from Convoy                9/13/2024   Maria Hernandez


301       Photograph Damaged Vehicle from Convoy                9/13/2024   Maria Hernandez


302       Photograph Damaged Vehicle from Convoy                9/13/2024   Maria Hernandez


303       Photograph of JR Belt & Watches                       9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                            FOR I.D.       IN                            SENT INTO
                                                             EVIDENCE                          JURY
                                                                                               (date & time)
304       Photograph of JR Belt                             9/13/2024   Maria Hernandez


305       Photograph of JR Belt                             9/13/2024   Maria Hernandez


306       Photograph of JR Belt & Watches                   9/13/2024   Maria Hernandez


307       Photograph of JR Belt                             9/13/2024   Maria Hernandez


308       Photograph of JR Watches                          9/13/2024   Maria Hernandez


309       Photograph of Watch                               9/13/2024   Maria Hernandez


310       Photograph of Watch                               9/13/2024   Maria Hernandez


311       Photograph of Watch                               9/13/2024   Maria Hernandez


312       Photograph of Watch                               9/13/2024   Maria Hernandez


313       Photograph of Watch                               9/13/2024   Maria Hernandez


314       Photograph of Watch                               9/13/2024   Maria Hernandez


315       Photograph of Watch                               9/13/2024   Maria Hernandez


316       Photograph of Watch                               9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                            FOR I.D.       IN                            SENT INTO
                                                             EVIDENCE                          JURY
                                                                                               (date & time)
317       Photograph of Watch                               9/13/2024   Maria Hernandez


318       Photograph of Watch                               9/13/2024   Maria Hernandez


319       Photograph of Watch                               9/13/2024   Maria Hernandez


320       Photograph of Watch                               9/13/2024   Maria Hernandez


321       Photograph of Belt                                9/13/2024   Maria Hernandez


322       Photograph of Belt                                9/13/2024   Maria Hernandez


323       Photograph of Belt                                9/13/2024   Maria Hernandez


324       Photograph of Belt                                9/13/2024   Maria Hernandez


325       Photograph of Bullets in vehicle                  9/13/2024   Maria Hernandez


326       Photograph of Bullets in vehicle                  9/13/2024   Maria Hernandez


327       Photograph of Bullets in vehicle                  9/13/2024   Maria Hernandez


328       Photograph of Bullets in vehicle                  9/13/2024   Maria Hernandez


329       Photograph of Bullets in vehicle                  9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                               FOR I.D.       IN                            SENT INTO
                                                                EVIDENCE                          JURY
                                                                                                  (date & time)
330       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


331       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


332       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


333       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


334       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


335       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


336       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


337       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


338       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


339       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


340       Photograph of Bullets in vehicle                     9/13/2024   Maria Hernandez


341       Photograph of Shoulder-fired launcher                9/13/2024   Maria Hernandez


342       Photograph of Shoulder-fired launcher                9/13/2024   Maria Hernandez
          instructions
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EXHIBIT           DESCRIPTION OF EXHIBITS                  MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                                     FOR I.D.       IN                             SENT INTO
                                                                      EVIDENCE                           JURY
                                                                                                         (date & time)
343       Photograph of Bullets                                      9/13/2024   Maria Hernandez


344       Photograph of 50-caliber rifle                             9/13/2024   Maria Hernandez


345       Photograph of 50-caliber rifle closeup                     9/13/2024   Maria Hernandez


346       Photograph of 50-caliber rifle closeup                     9/13/2024   Maria Hernandez


347       Photograph of 38 super automatic                           9/13/2024   Maria Hernandez


348       Photograph of 38 super automatic closeup                   9/13/2024   Maria Hernandez


349       Photograph of 38 super automatic #2                        9/13/2024   Maria Hernandez


350       Photograph of 38 super automatic #2 closeup                9/13/2024   Maria Hernandez


351       Photograph of Grenade                                      9/11/2024   Herminio Gomez Ancira


352       Photograph of Grenade closeup                              9/13/2024   Maria Hernandez


353       Photograph of CJNG launcher                                9/13/2024   Maria Hernandez


354       Photograph of CJNG launcher                                9/13/2024   Maria Hernandez


355       Photograph of CJNG launcher                                9/13/2024   Maria Hernandez
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EXHIBIT           DESCRIPTION OF EXHIBITS              MARKED     RECEIVED             WITNESS       EXHIBITS
NUMBER                                                 FOR I.D.       IN                             SENT INTO
                                                                  EVIDENCE                           JURY
                                                                                                     (date & time)
356       Photograph of CJNG launcher                            9/13/2024   Maria Hernandez


357       Photograph of CJNG launcher                            9/13/2024   Maria Hernandez


358       Photograph of RPG                                      9/13/2024   Maria Hernandez


359       Photograph of RPG                                      9/13/2024   Maria Hernandez


360       Photograph of Radios                                   9/11/2024   Herminio Gomez Ancira


361       Photograph of Radios                                   9/13/2024   Maria Hernandez


362       Photograph of CJNG Jerseys                             9/13/2024   Maria Hernandez


363       Photograph of CJNG Jerseys                             9/13/2024   Maria Hernandez


364       Photograph of Special Forces Hat                       9/13/2024   Maria Hernandez


365       Photograph of Special Forces Hat                       9/11/2024   Juan Perez


366       Photograph of Helicopter Before                        9/13/2024   Maria Hernandez


367       Photographs of Weapons from Defendant’s                9/11/2024   Juan Perez
          Arrest

368       Maps and Street View photos of area of                 9/11/2024   Juan Perez
          Defendant’s Arrest
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EXHIBIT           DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                            FOR I.D.       IN                            SENT INTO
                                                             EVIDENCE                          JURY
                                                                                               (date & time)
369       Statement of Facts


370       Videos of Rule 15 Deposition                      9/16/2024   N/A


371       Photograph of Bullets                             9/13/2024   Maria Hernandez


372       Photograph of Bullets and Rocket                  9/13/2024   Maria Hernandez


373       Photograph of Bullets and Rocket                  9/13/2024   Maria Hernandez


374       Photograph of Bullets and Rocket                  9/13/2024   Maria Hernandez


375       Photograph of Grenades                            9/13/2024   Maria Hernandez


376       Photograph of Rocket Launcher                     9/13/2024   Maria Hernandez


377       Photograph of Hand Grenade                        9/13/2024   Maria Hernandez


378       Photograph of Back of Car                         9/13/2024   Maria Hernandez


379       Photograph of Grenade                             9/13/2024   Maria Hernandez


380       RPG Launcher                                      9/13/2024   Maria Hernandez


381       RPG Launcher                                      9/13/2024   Maria Hernandez
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EXHIBIT            DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                             FOR I.D.       IN                            SENT INTO
                                                              EVIDENCE                          JURY
                                                                                                (date & time)
382       Machine Gun                                        9/13/2024   Maria Hernandez


383       Rifle                                              9/13/2024   Maria Hernandez


384       M16 Rifle                                          9/13/2024   Maria Hernandez


385       M16 Rifle                                          9/13/2024   Maria Hernandez


386       M16 Rifle                                          9/13/2024   Maria Hernandez


387       Assault Rifle                                      9/13/2024   Maria Hernandez


388       Assault Rifle                                      9/13/2024   Maria Hernandez


389       Assault Rifle                                      9/13/2024   Maria Hernandez


390       Assault Rifle                                      9/13/2024   Maria Hernandez


391       Assault Rifle                                      9/13/2024   Maria Hernandez


392       Assault Rifle                                      9/13/2024   Maria Hernandez


393       Assault Rifle                                      9/13/2024   Maria Hernandez


394       Assault Rifle                                      9/13/2024   Maria Hernandez
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EXHIBIT             DESCRIPTION OF EXHIBITS         MARKED     RECEIVED             WITNESS      EXHIBITS
NUMBER                                              FOR I.D.       IN                            SENT INTO
                                                               EVIDENCE                          JURY
                                                                                                 (date & time)
395       Handgun                                             9/13/2024   Maria Hernandez


396       Handgun                                             9/13/2024   Maria Hernandez


397       Handgun                                             9/13/2024   Maria Hernandez


398       Handgun                                             9/13/2024   Maria Hernandez


399       Handgun                                             9/13/2024   Maria Hernandez


400       Handgun                                             9/13/2024   Maria Hernandez


401       Handgun                                             9/13/2024   Maria Hernandez


402       Handgun                                             9/13/2024   Maria Hernandez


403       Bullets                                             9/13/2024   Maria Hernandez


404       JR Belt                                             9/13/2024   Maria Hernandez


405       M Belt Buckle                                       9/13/2024   Maria Hernandez


406       Watch                                               9/13/2024   Maria Hernandez


407       Watch                                               9/13/2024   Maria Hernandez
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EXHIBIT               DESCRIPTION OF EXHIBITS            MARKED     RECEIVED             WITNESS         EXHIBITS
NUMBER                                                   FOR I.D.       IN                               SENT INTO
                                                                    EVIDENCE                             JURY
                                                                                                         (date & time)
408       Watch                                                    9/13/2024   Maria Hernandez


409       Watch                                                    9/13/2024   Maria Hernandez


410       Watch                                                    9/13/2024   Maria Hernandez


411       Watch                                                    9/13/2024   Maria Hernandez


412       Video related to Helicopter Crash                        9/12/2024   Herminio Gomez Ancira


412A      Transcript of Video                                      9/12/2024   Herminio Gomez Ancira


412B      Screenshot of Video related to Helicopter
          Crash

413       Affidavit                                                9/11/2024   Elpidio Mojarro Ramirez


414       Joint Statement of Stipulated Facts


415       Hand Drawing                                             9/17/2024   Jose A. Torres Marrufo


JX1       Stipulations                                             9/9/2024    N/A
